                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF IOWA
                          CEDAR RAPIDS DIVISION

 UNITED STATES OF AMERICA,
               Plaintiff,                                   No. CR05-14-LRR
 vs.
                                                                 ORDER
 TIFFANY LARICE YOUNG,
               Defendant.
                            ____________________________

       This matter is before the court pursuant to the defendant’s motion to reduce sentence
under 18 U.S.C. § 3582(c)(2) (docket no. 241). The defendant filed such motion on
December 13, 2011.
       In relevant part, 18 U.S.C. § 3582(c) provides:
              The court may not modify a term of imprisonment once it has
              been imposed except that . . . in the case of a defendant who
              has been sentenced to a term of imprisonment based on a
              sentencing range that has subsequently been lowered by the
              Sentencing Commission pursuant to 28 U.S.C. [§] 994(o),
              upon motion of the defendant or the Director of the Bureau of
              Prisons, or on its own motion, the court may reduce the term
              of imprisonment, after considering the factors set forth in [18
              U.S.C. §] 3553(a) to the extent that they are applicable, if such
              a reduction is consistent with applicable policy statements
              issued by the Sentencing Commission.
18 U.S.C. § 3582(c)(2); see also United States v. Auman, 8 F.3d 1268, 1271 (8th Cir.
1993) (“Section 3582(c)(2) is a provision that permits a district court to reduce a term of
imprisonment if the sentencing range upon which the term was based is subsequently
lowered by the Sentencing Commission.”). Given the record, the court concludes that it
need not appoint counsel or conduct a hearing with respect to the defendant’s motion under
18 U.S.C. § 3582(c)(2). See United States v. Harris, 568 F.3d 666, 669 (8th Cir. 2009)
(concluding that there is no right to assistance of counsel when pursuing relief under 18


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U.S.C. § 3582(c) and finding that a judge need not hold a hearing on a motion pursuant
to 18 U.S.C. § 3582(c)); see also Fed. R. Crim. P. 43(b)(4) (stating that a defendant’s
presence is not required in a proceeding that involves the reduction of a sentence under 18
U.S.C. § 3582(c)).
       Amendment 750 (Parts A and C only) amends USSG §1B1.10. On June 30, 2011,
the Sentencing Commission unanimously voted to apply Amendment 750 (Parts A and C
only) retroactively to cocaine base (“crack”) offenses, and it set November 1, 2011 as the
date that Amendment 750 (Parts A and C only) could be applied retroactively. Part A
amended the Drug Quantity Table in USSG §2D1.1 for crack offenses and made related
revisions to Application Note 10 to USSG §2D1.1. Part C deleted the cross reference in
USSG §2D2.1(b) under which an offender who possessed more than 5 grams of crack was
sentenced under USSG §2D1.1.
       USSG §1B1.10, in relevant part, states:
              In a case in which a defendant is serving a term of
              imprisonment, and the guideline range applicable to that
              defendant has subsequently been lowered as a result of an
              amendment to the Guidelines Manual listed in subsection (c)
              below, the court may reduce the defendant’s term of
              imprisonment as provided by 18 U.S.C. § 3582(c)(2). As
              required by 18 U.S.C. § 3582(c)(2), any such reduction in the
              defendant’s term of imprisonment shall be consistent with this
              policy statement.
USSG §1B1.10(a)(1); see also USSG §1B1.10, comment. (n.1) (“Eligibility for
consideration under 18 U.S.C. § 3582(c)(2) is triggered only by an amendment listed in
subsection (c) that lowers the applicable guideline range.”). The Sentencing Commission
included Amendment 750 (Parts A and C only) within subsection (c). USSG §1B1.10(c).
       Nevertheless, the court is unable to rely on Amendment 750 (Parts A and C only)
to reduce the defendant’s sentence under 18 U.S.C. § 3582(c)(2) and USSG §1B1.10. See
generally United States v. Curry, 584 F.3d 1102, 1104 (8th Cir. 2009) (discussing United


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States v. Wyatt, 115 F.3d 606, 608-09 (8th Cir. 1997)) (explaining requirements under
USSG §1B1.10(b)). Because the defendant is subject to a statutorily required minimum
sentence, see 21 U.S.C. § 841(b)(1)(A), the defendant is not entitled to a reduction of her
120 month term of imprisonment.1 Accordingly, the court concludes that a reduction
under 18 U.S.C. § 3582(c)(2) and USSG §1B1.10 is not warranted. Cf. United States v.
Peters, 524 F.3d 905, 906-07 (8th Cir. 2008) (concluding statutory mandatory minimum
applied, and, consequently, defendant could not rely on Amendment 706 to reduce his
sentence under 18 U.S.C. § 3582(c)(2)); United States v. Jones, 523 F.3d 881, 882 (8th
Cir. 2008) (same); see also United States v. Byers, 561 F.3d 825, 829-32 (8th Cir. 2009)
(making clear that statutory minimum must be taken into consideration).
       Based on the foregoing, the defendant’s motion to reduce sentence under 18 U.S.C.
§ 3582(c)(2) (docket no. 241) is denied.2 The clerk’s office is directed to send a copy of
this order to the United States, the defendant and the Federal Public Defender.
       IT IS SO ORDERED.




       1
         Based on a total adjusted offense level of 29 and a criminal history category of I,
the defendant faced a guideline range of 87 to 108 months. However, the court determined
that the defendant was subject to a statutorily required minimum sentence. See 21 U.S.C.
§ 841(b)(1)(A). Consequently, the court concluded that a guideline range of 120 months
imprisonment applied to the defendant. See USSG §5G1.1(b). The court sentenced the
defendant to 120 months imprisonment on count 1 of the superseding indictment.
       2
        The court notes that, in 2008, it concluded that the defendant could not rely on
either Amendment 706 or Amendment 715 to reduce her sentence. See Order (docket no.
205). For the reasons previously stated and the reasons stated herein, the same result is
reached when considering Amendment 750.

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  DATED this 14th day of December, 2011.




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